Case 1:23-cv-00162-JLH-SRF     Document 34     Filed 07/29/24   Page 1 of 54 PageID #:
                                       458



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF DELAWARE

  PARKER PELHAM, Individually and
  on Behalf of All Others Similarly
  Situated,

               Plaintiff,
                                             Case No: 23-cv-162-JLH-SRF
               v.

  VBIT TECHNOLOGIES CORP., VBIT
  MINING LLC, VBIT DC CORP.,    JURY TRIAL DEMANDED
  ADVANCED MINING GROUP,
  DANH CONG VO a/k/a DON VO,
  PHUONG D VO a/k/a KATIE VO,
  SEAN TU, JIN GAO, and LILLIAN
  ZHOU,

               Defendants.


  AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE
                FEDERAL SECURITIES LAWS

       Lead Plaintiff Alisha McKellar (“Lead Plaintiff” or “Ms. McKellar”) and

 named plaintiffs Jin Hyuk Ho (“Mr. Ho”), Terence Brown (“Mr. Brown”), David

 Veney (“Mr. Veney”), and Jake Washburn (“Mr. Washburn” and, collectively with

 Ms. McKellar, Mr. Ho, Mr. Brown, and Mr. Veney, “Plaintiffs”), individually and

 on behalf of all others similarly situated, allege the following against Defendants

 VBit Technologies Corp. (“VBit Tech”), VBit Mining LLC (“VBit Mining”), VBit

 DC Corp. (“VBit DC”) Advanced Mining Group (“Advanced Mining” and,


                                         1
Case 1:23-cv-00162-JLH-SRF      Document 34     Filed 07/29/24    Page 2 of 54 PageID #:
                                        459



 collectively with VBit Tech and VBit Mining, the “Company Defendants”), Danh

 Cong Vo a/k/a Don Vo (“Mr. Vo”), Phuong D Vo a/k/a Katie Vo (“Ms. Vo”), Sean

 Tu (“Mr. Tu”), Jin Gao (“Mr. Gao”), and Lillian Zhou (“Ms. Zhou” and, collectively

 with Mr. Vo, Ms. Vo, Mr. Tu, and Mr. Gao, the “Individual Defendants”). The

 Company Defendants and the Individual Defendants together are referred to as

 “Defendants.” Plaintiffs’ allegations herein are based upon personal knowledge as

 to Plaintiffs’ own acts and upon information and belief as to all other matters based

 on the investigation conducted by and through Plaintiffs’ attorneys. This

 investigation included, among other things: VBit Tech’s and Advanced Mining’s

 press releases and other public statements and/or announcements; public

 information regarding VBit and Advanced Mining, including information posted on

 VBit’s website and, later, Advanced Mining’s website; and documents filed in

 Dettmering et al. v. VBit Technologies Corp. et al., Case No. 1:22-cv-01482-JLH-

 SRF (D. Del.) (the “RICO Case”). In the RICO case, Defendants Mr. Gao and Ms.

 Vo have asserted that the Mining Contracts (defined below) are securities.

 Dettmering v. VBit Technologies Corp., et al., Case No. 1:22-cv-01482-JLH-SRF,

 Dkt. Nos. 141, at 15-16; 146, at 5-10 (D. Del.). Therefore, Defendants Mr. Gao and

 Ms. Vo are judicially estopped from asserting otherwise in this case. Plaintiffs

 believe that substantial additional evidentiary support will exist for the allegations

 set forth herein after a reasonable opportunity for discovery.

                                           2
Case 1:23-cv-00162-JLH-SRF        Document 34    Filed 07/29/24   Page 3 of 54 PageID #:
                                          460



                            NATURE OF THE ACTION

       1.     Plaintiffs bring this securities class action on behalf of all persons or

 entities who purchased VBit’s unregistered securities in the form of investment

 contracts promising the sales, leasing, and servicing of specialized computer

 hardware to produce Bitcoins for customers (the “VBit Mining Contracts” or

 “Mining Contracts”) (the “Class”). These investment contracts were securities that

 were not properly registered with the U.S. Securities and Exchange Commission

 (“SEC”) or state regulators. To make matters worse, rather than using the proceeds

 from the unregistered securities to truly mine Bitcoin and pay it out to Plaintiffs and

 Class members, Defendants instead operated a Ponzi scheme that purportedly paid

 out the promised Bitcoin only as new Class members and victims bought in.

       2.     Bitcoin mining is a process that requires powerful computers and

 significant electrical power. As compensation for performing the resource-intensive

 computing “proof of work” necessary to verify the transactions on Bitcoin’s

 blockchain, Bitcoin “miners” receive block rewards in the form of Bitcoin.

       3.     By design, only 21 million Bitcoins will ever be created, and more than

 19 million Bitcoins have already been mined. This limited supply drives a fear of

 missing out on a lucrative business opportunity. Moreover, approximately every

 four years, the block reward is cut in half, meaning that successful miners receive

 half of the amount of Bitcoin.

                                           3
Case 1:23-cv-00162-JLH-SRF     Document 34    Filed 07/29/24   Page 4 of 54 PageID #:
                                       461



       4.    The Bitcoin price is volatile because it is highly susceptible to

 fluctuating demand, changing global regulations, and social media hype. Since its

 inception, Bitcoin has seen a meteoric rise in value. Bitcoin traded at $0.09 per

 Bitcoin in 2010 and reached a high of approximately $69,000 in November 2021.

 Since then, the price of one Bitcoin has ranged from its high of $69,000 in

 November of 2021 to as low as approximately $16,000.

       5.    In years past, a standard individual computer could successfully mine

 Bitcoin. Now, the computing power necessary to mine has expanded greatly as the

 verification process has evolved. Today, most Bitcoin mining takes place in large

 “data centers” that store and power vast sets of computers containing application

 specific integrated circuits, or ASICS, that do the mining. These data centers

 generally operate where electricity is inexpensive and in colder climates so that

 additional energy is not required to cool the computer hardware.

       6.    While Bitcoin mining has been highly profitable for some companies

 and individuals, Defendants used it as a vehicle to prey on cryptocurrency

 consumers and sell unregistered securities. As alleged herein, Defendants entered

 into a scheme to recruit Plaintiffs and the members of the Class to enter into

 investment contracts to purchase Bitcoin mining packages that Defendants




                                         4
Case 1:23-cv-00162-JLH-SRF                Document 34           Filed 07/29/24         Page 5 of 54 PageID #:
                                                  462



 promised would enable them to mine Bitcoin.1 In soliciting the unregistered

 securities to Plaintiffs and the Class, Defendants made fraudulent statements and

 promotions about the returns that investors would receive and the true use of the

 proceeds of the sale.

         7.       Plaintiffs entered into investment contract agreements with the

 Company Defendants whereby Defendants would purportedly host physical Bitcoin

 mining equipment at facilities it owned, which in turn would allow Plaintiffs to mine

 and procure Bitcoin or other cryptocurrencies. Plaintiffs invested U.S. dollars and

 Bitcoin with Defendants in exchange for Defendants’ purported equipment and

 “hosting” services. Defendants raised millions of dollars through the sale of these

 unregistered securities in violation of the registration provisions of the federal

 securities laws, thereby funding the Company Defendants’ operation and enriching

 the Individual Defendants.

         8.       Defendants promised that through these mining packages, Plaintiffs

 and the Class would lease (with the option to eventually purchase) computer

 hardware that was hosted in a facility maintained by Defendants, where the

 hardware would efficiently mine Bitcoin or other cryptocurrencies for Plaintiffs and




 1
   A copy of Defendants’ uniform “Payment and Hosting Agreement Contract” (the “Contract”) is attached hereto as
 Exhibit 1. The promises made by Defendants are also encompassed in the FAQ on the Advanced Mining website
 (https://www.advancedmining.io/faqs/) (last visited July 11, 2024), which explains in more detail the nature of the
 supposed hardware being purchased and the mechanisms for customers to receive their Bitcoins.
                                                         5
Case 1:23-cv-00162-JLH-SRF      Document 34     Filed 07/29/24   Page 6 of 54 PageID #:
                                        463



 the Class. Over time, Plaintiffs and the Class would accumulate Bitcoin or other

 cryptocurrencies in their “virtual wallets.”

       9.     When the price of Bitcoin plummeted from a high of nearly $69,000

 in November 2021 to almost half that, around $35,000, in January 2022, Defendants

 realized they could no longer sustain their house of cards.

       10.    In order to conceal their original fraud and attempt to avoid

 responsibility for the impending collapse, Defendants on January 31, 2022 “sold”

 VBit Tech to Advanced Mining, a supposed “Asian-based company” with “global”

 cryptocurrency operations. However, there is no evidence that Advanced Mining

 existed prior to the “sale” or that Advanced Mining has ever existed as a legitimate

 business, nor have Defendants established that Advanced Mining’s announced CEO

 Lillian Zhou actually exists. And as recently as October 18, 2022, Defendants sent

 an email to customers indicating that VBit Tech is merely doing business as

 Advanced Mining.

       11.    In or about June 2022, Plaintiffs discovered that they were unable to

 make withdrawals of Bitcoin from their “virtual wallet,” which was located in an

 online dashboard hosted by Defendants. While Defendants blamed the delays on

 technical issues, it soon became apparent that something was seriously wrong.

 Plaintiffs’ virtual wallets were frozen and completely prevented Plaintiffs from




                                           6
Case 1:23-cv-00162-JLH-SRF      Document 34     Filed 07/29/24   Page 7 of 54 PageID #:
                                        464



 accessing the valuable Bitcoin that they supposedly held. Plaintiffs were also unable

 to access the computer hardware that they purportedly owned or were leasing.

       12.    In reality, Plaintiffs’ individual virtual wallet appears to have been a

 façade. Defendants were not offering and maintaining individualized, hardware-

 hosted mining services to Plaintiffs as represented. Instead, Defendants were

 engaged in “cloud mining,” or a similar arrangement whereby customers’

 computing power – dubbed a “hash rate” – is pooled together and wholly unrelated

 to the physical products and service they are purportedly being sold.

       13.    Plaintiffs and Class members were promised individualized,

 specialized, cutting-edge computer technology touted by Defendants as being

 capable of producing hefty returns. Plaintiffs never received the individualized

 mining equipment and services that they paid for; rather, Plaintiffs’ investments

 were pooled together with investments from other customers. The “Bitcoins”

 appearing in Plaintiffs’ “virtual wallet” were mere investment returns arbitrarily

 determined by Defendants, funded by moving funds from more recent customers

 into the accounts of earlier-in-time customers to give the false appearance of a

 prosperous business.

       14.    The contractual agreements at issue and the products and services sold

 thereunder, i.e., Defendants’ “hosting services” and “mining equipment,” constitute

 investment contracts and securities under §3(a)(10) of the Securities Exchange Act

                                          7
Case 1:23-cv-00162-JLH-SRF      Document 34      Filed 07/29/24   Page 8 of 54 PageID #:
                                        465



 of 1934, 15 U.S.C. §78c, because they are investments in common ventures

 premised on a reasonable expectation of profits to be derived primarily from the

 entrepreneurial or managerial efforts of others. Further, the Mining Contracts are

 securities under the test set forth in Reves v. Ernst & Young, 494 U.S. 56, 64-66

 (1990), and its progeny. The Mining Contracts also have all the traditional

 hallmarks of a security, as reflected in SEC v. W.J. Howey Co., 328 U.S. 293 (1946),

 and subsequent case law.

       15.    Federal securities laws require any security that is offered or sold to be

 registered with the SEC. The Mining Contracts were not registered with the SEC or

 any other securities regulatory authority. The failure to register the Mining

 Contracts subjected investors to significant risks. The securities laws are designed

 to protect the public by requiring various disclosures so that investors can better

 understand the security that is being offered or sold, as well as risks associated with

 investment in that security. Absent the disclosures required by law about those

 efforts and the progress and prospects of the enterprise, significant informational

 asymmetries may exist between the management and promoters of the enterprise on

 the one hand, and investors and prospective investors on the other hand. The

 reduction of these information asymmetries through required disclosures protects

 investors and is one of the primary purposes of the securities laws.




                                           8
Case 1:23-cv-00162-JLH-SRF        Document 34      Filed 07/29/24    Page 9 of 54 PageID #:
                                          466



        16.    Defendants have sold unregistered securities in violation of the

 Securities Act of 1933 (“Securities Act”). Moreover, Defendants have engaged in

 securities fraud in violation of the Securities Exchange Act of 1934 (“Exchange

 Act”). Further, the Individual Defendants are all culpable participants in

 Defendants’ fraudulent scheme, committing acts of misfeasance such that the

 Individual Defendants should be held personally liable for the misconduct of the

 Company Defendants. Plaintiffs, by this action, seek rescission of the investment

 contracts they entered into with Defendants or rescissory damages, as well as for

 damages suffered due to the fraudulent conduct complained of herein. Defendants’

 inability to honor investor withdrawals underscores investors’ reliance on the efforts

 of Defendants to provide the expected profits. Ultimately, Defendants’ efforts fell

 short, and it is Plaintiffs and the Class that bore the cost of that failure.

                           JURISDICTION AND VENUE

        17.    This Complaint is filed, and these proceedings are instituted, to recover

 damages and obtain other relief that Plaintiff has sustained due to Defendants’

 unregistered and unqualified offers and sales of securities in violation of §§5,

 12(a)(1), and 15 of the Securities Act, 15 U.S.C. §§77e, 77l, and 77o. The claims

 asserted herein also arise under and pursuant to §§10(b) and 20(a) of the Exchange

 Act, 15 U.S.C. §78j(b).




                                             9
Case 1:23-cv-00162-JLH-SRF                  Document 34 Filed 07/29/24                     Page 10 of 54 PageID #:
                                                     467



          18.      This Court has subject-matter jurisdiction over claims under the

 Securities Act pursuant to 15 U.S.C. §78aa and 28 U.S.C. §1331 and pursuant to 28

 U.S.C. §1331 and §27 of the Exchange Act.

          19.      Venue is proper in the United States District Court for the District of

 Delaware because the underlying investment contracts entered into by the parties

 require that venue shall be located in this District.

          20.      In connection with the acts alleged by this Complaint, Defendants used

 interstate commerce to advance their fraudulent scheme.

                                                     PARTIES

                                                      Plaintiffs

          21.      Lead Plaintiff Alisha McKellar purchased unregistered securities in the

 form of investment contracts from Defendants during the Class Period2 and suffered

 investment losses as a result of Defendants’ conduct. Lead Plaintiff’s PSLRA

 certification on file with the Court (Dkt. No. 9-2) is incorporated by referenced

 herein.

          22.      Named plaintiff Jin Hyuk Ho purchased unregistered securities in the

 form of investment contracts from Defendants during the Class Period and suffered




 2
   The Class Period is defined as January 1, 2019, through the date of this filing, inclusive. Plaintiffs reserve the right
 to expand or amend the Class Definition or Period based on discovery produced in this matter.
                                                           10
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 11 of 54 PageID #:
                                        468



 investment losses as a result of Defendants’ conduct. Mr. Ho’s PSLRA certification

 is attached hereto and incorporated by reference herein.

       23.    Named plaintiff Terence Brown purchased unregistered securities in

 the form of investment contracts from Defendants during the Class Period and

 suffered investment losses as a result of Defendants’ conduct. Mr. Brown’s PSLRA

 certification is attached hereto and incorporated by reference herein.

       24.    Named plaintiff David Veney purchased unregistered securities in the

 form of investment contracts from Defendants during the Class Period and suffered

 investment losses as a result of Defendants’ conduct.         Mr. Veney’s PSLRA

 certification is attached hereto and incorporated by reference herein.

       25.    Named plaintiff Jake Washburn purchased unregistered securities in

 the form of investment contracts from Defendants during the Class Period and

 suffered investment losses as a result of Defendants’ conduct. Mr. Washburn’s

 PSLRA certification is attached hereto and incorporated by reference herein.

                               Company Defendants

       26.    Defendant VBit Tech is a Delaware corporation with its principal place

 of business located at 1625 Washington Avenue, Philadelphia, Pennsylvania 19146.

       27.    Defendant VBit Mining is a Delaware limited liability company with

 its principal place of business located at 1625 Washington Avenue, Philadelphia,




                                          11
Case 1:23-cv-00162-JLH-SRF    Document 34 Filed 07/29/24       Page 12 of 54 PageID #:
                                       469



 Pennsylvania 19146. According to Defendants, VBit Mining is a direct subsidiary

 of VBit Tech.

       28.    Defendant VBit DC is a subsidiary of VBit Tech. Upon information

 and belief, Defendant Mr. Gao owned a 17% stake in VBit DC. VBit DC owns a

 building and land in Columbia Falls, Montana that VBit Tech used for Bitcoin

 mining. VBit DC is a Delaware corporation with its principal place of business

 located at 1625 Washington Avenue, Philadelphia, Pennsylvania 19146. VBit DC

 also used Ms. Vo’s home address as its mailing address.

       29.    Defendant Advanced Mining is an “Asian-based,” foreign entity

 whose activities either are located at 1625 Washington Avenue, Philadelphia,

 Pennsylvania 19146, and/or who operates as the alter ego or instrumentality of VBit

 Tech, VBit Mining, VBit DC, and/or the Individual Defendants.

                              Individual Defendants

       30.    Defendant Dahn Cong Vo a/k/a Don Vo was the Chief Executive

 Officer (“CEO”) of VBit Tech and VBit Mining until in or around January 2022.

 Mr. Vo exercised control over the Company Defendants and directed and/or

 authorized, directly or indirectly, the sale and solicitation of Mining Contract

 investments to the public.

       31.    Defendant Phuong D Vo a/k/a Katie Vo is an executive who was touted

 as an integral part of VBit’s formation and development. Ms. Vo is married to Mr.

                                         12
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24        Page 13 of 54 PageID #:
                                         470



 Vo. Ms. Vo is credited with inspiring Mr. Vo to launch VBit. Ms. Vo was the

 “Operations Director” at VBit. Her duties in that role included training and

 overseeing the administrative support team that was responsible for responding to

 customer support requests. Ms. Vo exercised control over the Company Defendants

 and directed and/or authorized, directly or indirectly, the sale and solicitation of

 Mining Contract investments to the public.

       32.    Defendant Sean Tu is the former Chief Technology Officer (“CTO”)

 and Chief Operating Officer (“COO”) of VBit Tech and VBit Mining. Mr. Tu also

 held himself out as the COO of Advanced Mining until January 2023, when he

 transitioned to a consulting role. Mr. Tu exercised control over the Company

 Defendants and directed and/or authorized, directly or indirectly, the sale and

 solicitation of Mining Contract investments to the public.

       33.    Defendant Jin Gao is a co-founder of VBit and held himself out as the

 Vice Chairman of Advanced Mining and previously held the position of Vice

 President of VBit. Mr. Gao exercised control over the Company Defendants and

 directed and/or authorized, directly or indirectly, the sale and solicitation of Mining

 Contract investments to the public. Mr. Gao had an active role in promoting VBit

 and    in    an    October      3,    2020     YouTube       video    (available     at

 https://www.youtube.com/watch?v=biF65sUW4Ug) (last visited July 11, 2024),

 Mr. Gao is described as the “face of the company.” Mr. Gao directly or indirectly

                                           13
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 14 of 54 PageID #:
                                        471



 owns the building at 1625 Washington Avenue that VBit and purportedly Advanced

 Mining used as their headquarters.

       34.   Defendant Lillian Zhou is purportedly the current CEO of Advanced

 Mining. Defendant Zhou purportedly exercised control over the Company

 Defendants and directed and/or authorized, directly or indirectly, the sale and

 solicitation of Mining Contract investments to the public. Upon information and

 belief, Plaintiffs allege that Mr. Vo continued to run VBit’s operations following

 the sham Advanced Mining transaction and that beginning in early 2022 Mr. Vo

 assumed the identity of Lillian Zhou as a means to perpetrate the fraud.

       35.   Mr. Vo orchestrated the charade of pretending to be someone else by

 using the email addresses, l.zhou@vbittech.com and ceo@vbittech.com, and by

 only agreeing to communicate with other VBit employees and officers (including

 Sean Tu) and VBit’s vendors, by email.

       36.   Each of the Individual Defendants:

             (a)    directly participated in the management of the Company

                    Defendants;

             (b)    was directly involved in the day-to-day operations of the

                    Company Defendants at the highest levels;

             (c)    was privy to confidential proprietary information concerning the

                    Company Defendants and its business and operations;

                                          14
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24        Page 15 of 54 PageID #:
                                        472



             (d)    was directly or indirectly involved in drafting, producing,

                    reviewing and/or disseminating the false and misleading

                    statements and information alleged herein;

             (e)    was directly or indirectly involved in the oversight or

                    implementation of the Company Defendants’ internal controls;

             (f)    was aware of or recklessly disregarded the fact that the false and

                    misleading statements were being issued concerning the

                    Company Defendants; and/or

             (g)    approved or ratified these statements in violation of the federal

                    securities laws.

       37.   The Company Defendants are liable for the acts of the Individual

 Defendants and their employees under the doctrine of respondeat superior and

 common law principles of agency because all of the wrongful acts complained of

 herein were carried out within the scope of their employment.

       38.   The scienter of the Individual Defendants and other employees and

 agents of the Company Defendants is similarly imputed to Company Defendants

 under respondeat superior and agency principles.

                        SUBSTANTIVE ALLEGATIONS
                   VBit, Advanced Mining, and Their Principals

       39.   A cryptocurrency is a digital asset designed to work as a medium of

 exchange or a store of value or both. Cryptocurrencies leverage a variety of
                                         15
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24          Page 16 of 54 PageID #:
                                         473



 cryptographic principles to secure transactions, control the creation of additional

 units, and verify the transfer of the underlying digital assets.

       40.     Created in 2009, Bitcoin was the world’s first decentralized

 cryptocurrency. With a current market capitalization of approximately $1.2 trillion,

 Bitcoin is also the largest and most popular cryptocurrency.

       41.     One of the main features that Bitcoin popularized was the use of a

 distributed ledger to track the ownership and transfer of every Bitcoin in existence.

 This distributed ledger is known as a blockchain. Blockchains are a central technical

 commonality across most cryptocurrencies.

       42.     There are two main ways to obtain Bitcoin. One way is to purchase

 Bitcoin from an exchange. The other way is to participate in the framework of

 incentives to validate the transactions on the blockchain, dubbed the “Proof of

 Work” mechanism. Users who expend resources to validate the blockchain get

 rewarded with newly minted Bitcoin. This process is colloquially referred to as

 “mining” for Proof of Work blockchains like Bitcoin. The measure of computing

 power that determines how quickly a computer can mine Bitcoin is dubbed the

 “hashrate.”

       43.     Defendant Mr. Vo started VBit Tech and VBit Mining (collectively,

 “VBit”) in 2018 and lured retail customers with promises that they could mine




                                           16
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24       Page 17 of 54 PageID #:
                                          474



 Bitcoin like large institutional miners who run entire facilities dedicated to Bitcoin

 mining and operate where electricity is inexpensive.

           44.   Defendant Danh Vo distinguished VBit with the claim he could give

 retail investors the ability to participate in the infrastructure of the cryptocurrency

 industry without all the risk associated with investing directly in the volatile

 cryptocurrency itself like Bitcoin.

           45.   VBit offered two primary products and services: (a) computer

 hardware, or “hashboards” specialized for Bitcoin mining, and (b) so-called

 “hosting” services, which would enable customers to mine Bitcoin with little or no

 effort.

           46.   VBit advertised on its website, “[y]ou don’t need to do anything

 regarding the setup or maintenance of your hardware. We take care of logistics,

 installing and updating software, providing affordable electricity, and keeping your

 equipment cool and in working order.” Mining Shop, vbitmining.com/mining-

 shop/,            Sept.         19,         2021,          Internet          Archive,

 https://web.archive.org/web/20210919232007/https://www.vbitmining.com/minin

 g-shop/ (last visited July 11, 2024).

           47.   Through marketing and advertising, VBit represented to Plaintiffs and

 the Class that it “operate[s] some of the largest and most efficient mining facilities

 in the world, with unprecedented access to clean, cheap power and expert staff.”

                                            17
Case 1:23-cv-00162-JLH-SRF        Document 34 Filed 07/29/24     Page 18 of 54 PageID #:
                                           475



 Vbitmining.com,           Dec.        24,        2021,        Internet      Archive,

 https://web.archive.org/web/20211224100044/https://www.vbitmining.com/ (last

 visited July 11, 2024).

       48.    Thus, VBit advertised that it would host its customers’ individualized

 computer hardware in its data centers and that its customers would control the extent

 of their participation in the mining of Bitcoin, and in exchange the customers would

 be responsible for “hosting” costs.

       49.    VBit sold several mining packages, some of which included a set

 period of hosting with the upfront price of the package, while others required a down

 payment followed by monthly hosting charges.

       50.    Though VBit’s ownership and operational structure is murky, upon

 information and belief, Mr. Vo co-founded VBit with Mr. Gao and was VBit’s Chief

 Executive Officer from its founding in 2018 through January 2022.

       51.    Advanced Mining, which now purportedly owns VBit, similarly

 claims on its website that it can provide customers the opportunity to purchase their

 personal Bitcoin mining equipment with “custom designed data centers,” the

 “cheapest electricity rates,” and “efficient mining systems.” Why Advanced

 Mining, https://www.advancedmining.io/how-mining-works/ (last visited July 11,

 2024).




                                             18
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24           Page 19 of 54 PageID #:
                                        476



       52.    Advanced Mining’s website further advertises that Bitcoin mining

 previously required “a huge amount of know-how, but now anyone can leverage

 [Advanced Mining’s] experts’ skills relieving you of setup and maintenance, so you

 can focus on the more important things to ensure a profitable operation.” Id.

 Advanced Mining advertises that it is “Highly Proven & Trusted. Built by

 technology and financial experts, our US-based operations are designed for clients

 who seek a reliable partner. Our customer support is staffed by proven mining

 specialists. Any questions or concerns? Just call or write!” Id.

       53.    Mr. Gao is also a 17% shareholder and co-founder of VBit DC, a

 subsidiary of VBit Tech that raised money to operate Bitcoin mining facilities. VBit

 DC owns a building and land in Columbia Falls, Montana that VBit Tech used for

 Bitcoin mining. Additionally, Mr. Gao directly or indirectly owns the building at

 1625 Washington Avenue that VBit and purportedly Advanced Mining used as their

 headquarters.

       54.    In a speech given at a 2019 gala to celebrate VBit’s first year, Ms. Vo

 referred to VBit as her “child.” She explained that VBit “is not something that can

 be done with Katie or Don alone.” She also provided detailed information about the

 company’s increasing, if fraudulent, sales and the types of packages that victims

 were purchasing, showing a deep and detailed understanding of the operation of the

 company.

                                          19
Case 1:23-cv-00162-JLH-SRF    Document 34 Filed 07/29/24      Page 20 of 54 PageID #:
                                       477



       55.   In her role, Ms. Vo operated the main interface between VBit and

 customers and was responsible for misrepresentations made to customers by the

 VBit support team to maintain the fraudulent scheme. Following the purported sale

 of VBit to Advanced Mining in early 2022, Ms. Vo continued in her role as

 Operations Director at Advanced Mining, a position that would report directly to

 the COO according to internal documents from that time.

       56.   Around the same time as the fraudulent Advanced Mining transaction,

 Don Vo paid Ms. Vo significant sums in cryptocurrency from the account that Mr.

 Vo used to manage VBit’s cryptocurrency assets.

                             VBit’s Mining Contracts

       57.   Plaintiffs and Class members entered into the Mining Contract with

 VBit and Advanced Mining. The Mining Contract was drafted by Defendants, is

 uniform and applies consistently to all Class members.

       58.   Defendants also made promises about the nature of the products and

 services provided by the Contract on their website’s FAQ section.

       59.   Defendants offer and currently advertise different mining packages

 ranging from “Silver” on the low end (purportedly 33,333 in giga hash per second




                                        20
Case 1:23-cv-00162-JLH-SRF                 Document 34 Filed 07/29/24                    Page 21 of 54 PageID #:
                                                    478



 power (“GH/s”) for $2,443) to “Black Diamond” on the high end (purportedly

 800,000 GH/s for $58,619).3

          60.      Under the Contract, VBit and Advanced Mining represented that they

 would be utilizing individualized mining equipment for the benefit of Plaintiffs and

 the Class:

          The first monthly payment will be due on the first of the month
          following 30 days after the first day your equipment is installed and
          actively running.

 Ex. 1, at 1 (emphasis added).

          1.1. Facility. Service Provider will provide server hosting facility,
          electrical power, and Internet access to Customer at Service Provider’s
          and partner facilities (the “Facility”) for the purposes of installing,
          maintaining, and operating Customer’s leased or owned servers and
          ASIC chips (the “Equipment”), which may be updated from time to
          time to add or delete Equipment with written notification to the
          Customer.

 Ex. 1, at 4 (emphasis added).

          61.      The Contracts also provided that the customers had the ability to

 allocate their computational power to their desired mining pool and gave them the

 right to change their desired pool at any time. Id., at 7.

          62.      A mining pool is a group of cryptocurrency miners who combine their

 computational resources over a network to strengthen the probability of successfully



 3
  Prices for Defendants’ mining packages have fluctuated over time and generally have moved up and down with the
 price of Bitcoin. The significant drop in the price of Bitcoin during 2022 may explain why the current advertised price
 of a mining package is different from the prices that Plaintiffs paid for their mining packages.
                                                          21
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 22 of 54 PageID #:
                                        479



 mining for cryptocurrency. A mining pool could include other VBit customers, but

 it also might not.

        63.    The FAQ on Defendants’ website emphasizes the physical and

 customer-specific nature of the hardware being purchased:

        Is Advanced Mining a cloud mining company?

        No, Advanced Mining is a hardware reseller offering hosting services.
        The consumer purchases actual ASIC hardware and NOT a cloud
        mining contract. Customers can choose to utilize our superior hosting
        services or have their hardware shipped to them, subject to shipping and
        handling charges. Please refer to our Terms and Conditions for details.

        64.    Under the Mining Contract, Plaintiffs leased Bitcoin mining equipment

 from VBit/Advanced Mining, but they also had the option to purchase the

 equipment for $1, plus shipping and handling fees:

        Use and leasing rights with a buyout option to:

        Black Diamond Package consisting of dedicated Antminer S19 series
        computer server hashboards with an average of 800,000 GH/s computer
        computational power, hereafter known as “Equipment”.

        Use and leasing term length will be equivalent to the Hosting Term
        lengths held by Customer. Customer can execute buyout option on
        Equipment referenced above at any time up to 30 days after the
        expiration of any Hosting Term lengths held by Customer for
        applicable equipment by submitting a written request of buyout
        execution and shipment of said equipment. Upon such request,
        Customer shall pay the shipping and handling fee described in section
        2.2 of this agreement in additional [sic] to a $1.00 USD buyout and the
        balance of all payments described above.

 Id., at 1-2

                                          22
Case 1:23-cv-00162-JLH-SRF        Document 34 Filed 07/29/24    Page 23 of 54 PageID #:
                                           480



       65.    The VBit website also provides detailed specifications on the exact

 hardware        that        is         included       in        each        package

 (https://www.advancedmining.io/antminer-s19j-pro-specifications/) (last visited

 July 11, 2024), making clear that each package included customer-specific

 hardware.

       66.    Under the Mining Contract, Defendants had total control over

 Plaintiffs’ equipment. See id. at § 6 (titled “Removals and Relocation of

 Equipment”).

       67.    As part of the Mining Contract, Defendants promised to host the

 equipment purchased by Plaintiffs and Class members. The website FAQ explains

 that “our hosting services include regular maintenance and cleaning by dedicated

 staff at our data centers.” The website FAQ also encourages customers to utilize the

 hosting services by explaining the economies of scale related to operating such

 Bitcoin mining hardware:

       Why should I host my miners with AM instead of my own facility?

       Bitcoin mining computer hardware requires technical knowledge to
       setup, a well ventilated space and huge amounts of ongoing electricity
       at a high voltage to operate. You will incur very high fees to set-up the
       space and high ongoing electricity bills to operate, not to mention the
       loud noise these computers generate. So just let us worry about setting
       it up and maintaining it for you while you decide on where to distribute
       your hashpower and collect your rewards!

       Advanced      Mining     FAQ:       Hardware         and      Hosting,
       https://www.advancedmining.io/faqs/ (last visited July 11, 2024)
                                           23
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24     Page 24 of 54 PageID #:
                                        481




       68.    The website FAQ is also where Defendants explain how customers

 should have been able to account for the Bitcoins that were supposedly being mined

 on their leased or purchased hardware hosted by the Defendants:

       How do I know what I’m really mining?

       With the amount of hash-power that you received when you purchase
       your mining package, you will be able to use any number of public
       calculators that you are able to find on Google and plug in the amount
       of hash-power in the mining calculator of your choice. The calculator
       will let you know the amount of Bitcoin you should be mining per day.

       Id.

       69.    The website FAQ also explained how customers would be able to

 access the Bitcoins that were supposedly being mined on their equipment:

       How will I receive my profits and where will be stored?

       All mined Bitcoins are distributed directly into your [Advanced
       Mining] Wallet.

       Id.

       70.    The FAQs answered additional questions that further explained the

 services offered by VBit and the products it sold:

       What happens if my machine fails?

       Antminers are generally expected to last around 4-6 years. However,
       our hosting services include regular maintenance and cleaning by
       dedicated staff at our data centers. Furthermore, we offer 1 warranty
       replacement for each piece of hardware during the total term of your
       hosting services with us.

                                          24
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24    Page 25 of 54 PageID #:
                                          482



       Id.

       What happens when my hosting is done?

       If your hosting term has ended and your hardware is still functional,
       you will be contacted with the options to either renew your hosting or
       have the hardware shipped directly to you (fees will apply). Hosting
       rates will vary depending on the changing costs of electricity in the
       future.

       Id.

       Can I host my equipment myself?

       Yes, you may purchase hardware at cost and have it shipped directly to
       you for shipping and handling fees.

       Id.
                        VBit Depended on New Victims

       71.    VBit grew its base to approximately 15,000 customers worldwide as

 of June 2022. VBit achieved this rapid growth by using multi-level marketing,

 turning its customers into a sales force, and incentivizing them to recruit new VBit

 customers. VBit recruited customers to promote its products by using word of

 mouth and to simplify the complexities of cryptocurrency and the blockchain. VBit

 referred to its customer recruiters as “affiliates.”

       72.    VBit employees posted videos on YouTube about how to recruit

 affiliates to increase the hardware and computing power available to customers to

 increase their mining payouts. See e.g. VBit Tech Team PH – Compensation Plan,

 https://www.youtube.com/watch?v=BPPCT_KkjUs (last visited July 11, 2024).

                                            25
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 26 of 54 PageID #:
                                        483



       73.    When VBit affiliates recruited new VBit customers “under them,” the

 recruiting affiliate received a referral commission in cash or Bitcoin and, according

 to Defendants, could receive a “boosted hashrate” on his own machines. The

 “boosted hashrate” purportedly would increase a customer’s mining power. For

 example, if a customer leased a Black Diamond package 800,000 GG/s power and

 earned a “boosted hashrate” of 100,000 GG/s, the customer would then have the

 power to mine with 900,000 GG/s in hashrate power. VBit employees, executives,

 and affiliates, including Defendant Gao, National Leader Skip McCoy, and

 Business Partner Gersham Fulcott posted videos online as a means of recruiting

 VBit customers.

       74.    Additionally, Defendants told VBit customers they could receive large

 bonuses for reaching a certain affiliate rank when they hit certain customer

 recruitment benchmarks. For example, Messrs. Vo and Gao presented top

 performers with new BMW sports cars and shared videos of the presentation. An

 October 3, 2020 YouTube video posted by Mr. Fulcott explains all the various types

 of compensation that VBit customers were told they could earn by recruiting

 friends, family, and colleagues to become VBit customers. See VBit Tech Team PH

 – Compensation Plan, https://www.youtube.com/watch?v=BPPCT_KkjUs (last

 visited July 11, 2024).

               VBit Is Purportedly Acquired by Advanced Mining

                                          26
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24     Page 27 of 54 PageID #:
                                          484



        75.   In late January 2022, VBit announced that it had been acquired by a

 company called Advanced Mining for $105 million.

        76.   On January 31, 2022, VBit issued a press release relating to the sale

 and identified Advanced Mining “as an Asian-based company primarily focused on

 bitcoin mining . . . .” VBit Technologies Acquired by Advanced Mining Group in a

 Huge         $105M          Deal,        https://www.globenewswire.com/en/news-

 release/2022/01/31/2376030/0/en/VBit-Technologies-Acquired-by-Advanced-

 Mining-Group-in-a-Huge-105M-Deal.html (last visited July 11, 2024).

        77.   In the press release, VBit touted “Advanced Mining” as a company

 that has been “thriving in the crypto mining sector since 2015 and operating 12 data

 centers dedicated to bitcoin mining in Europe and Asia.” Id.

        78.   The press release also stated that VBit was operating 27,000 Antminer

 S19 series and S17 series out of five data centers “spreading across the globe in the

 United States, Canada and Kazakhstan.” Id.

        79.   According to Defendants, on February 17, 2022, alleged Advanced

 Mining CEO Lillian Zhou sent an email to all VBit/Advanced Mining customers

 stating that Advanced Mining was growing by “acquiring successful crypto mining

 businesses across the globe.”

        80.   Her email further stated that, as of February 2022, Advanced Mining

 operated 12 data centers and expected to operate over 50, which would make it one

                                          27
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 28 of 54 PageID #:
                                        485



 of the three largest crypto mining companies in the world as measured by hashrate

 power.

       81.    Ms. Zhou also claimed that Advanced Mining would be increase the

 interest rate that customers earn by keeping their mined Bitcoin in their Advanced

 Mining virtual wallets. She claimed that Advanced Mining customers could earn

 “14% annual interest on all [Bitcoin] held in the [Advanced Mining] wallet – the

 highest interest rate paid on BTC [Bitcoin] in the market today!”

       82.    Despite the information contained in the press release, Advanced

 Mining is not – nor has it ever been – registered to do business in any jurisdiction

 in the United States. Indeed, Advanced Mining is not a real company and there is

 no mention of it anywhere until January 2022. If it exists at all, Advanced Mining

 is a complete sham and the alter ego and/or instrumentality of VBit Tech, VBit

 Mining, and the Individual Defendants.

       83.    Defendants admitted as much in an October 18, 2022 email from

 Advanced Mining to its customers, which says at the bottom of the email that VBit

 Tech. is merely doing business as Advanced Mining:




       84.    If Advanced Mining is in fact a duly authorized legal entity, according

 to Defendants that entity assumed all obligations of VBit.


                                          28
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24      Page 29 of 54 PageID #:
                                         486



          85.   According to Defendants, Advanced Mining conducts the same or

 substantially similar business that VBit conducted before VBit’s purported

 acquisition.

          86.   VBit and Advanced Mining have the same or substantially the same

 ownership.

          87.   Shortly after the announcement of the Advanced Mining transaction,

 Mr. Vo posted on LinkedIn that due to his efforts in pushing himself to build VBit,

 he had neglected his health and therefore would step down as CEO. Mr. Vo’s

 LinkedIn profile states that he is “Retired for now.”

          88.   Plaintiffs believe and alleges that Mr. Vo continued to run VBit’s

 operations following the sham Advanced Mining transaction and that beginning in

 early 2022 Mr. Vo assumed the identity of Lillian Zhou as a means to perpetrate the

 fraud.

          89.   Mr. Vo orchestrated the charade of pretending to be someone else by

 using the email addresses, l.zhou@vbittech.com and ceo@vbittech.com, and by

 only agreeing to communicate with other VBit employees and officers (including

 Sean Tu) and VBit’s vendors, by email.

                VBit Is Sanctioned by Washington State Regulators

          90.   On July 12, 2022, VBit entered into a consent order (“Consent Order”)

 with the Securities Division for the State of Washington (“Washington Securities

                                           29
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24        Page 30 of 54 PageID #:
                                         487



 Division”), which concluded that VBit’s “offer and/or sale of the combined Bitcoin

 mining hardware and service packages constitute the offer and/or sale of a security

 as defined by RCW 21.20.005(14) and (17)”; and “[VBit] has violated RCW

 21.20.140, because, as set forth in the Tentative Findings of Fact, it offered and/or

 sold securities for which no registration is on file with the Securities Administrator.”

        91.    Pursuant to the Consent Order, VBit agreed to pay fines to the

 Washington Securities Division totaling $15,000. VBit also agreed “that for the

 $156,000 of Bitcoin mining packages sold to approximately 82 Washington

 residents . . . [VBit] shall refund each Washington resident the original price of their

 mining package, less the value of any Bitcoin mined using their package (calculated

 as of the date of entry of this order), in exchange for the mining package purchaser’s

 release of any ownership rights to their mining hardware.”

        92.    The Consent Order ordered VBit to make the refund payments to

 Washington purchasers within 120 days of the Order.

        93.    Despite VBit’s claim that it was sold to Advanced Mining in January

 2022, the July 2022 Consent Order made no mention of Advanced Mining, and

 Lillian Zhou appears on the signature line on behalf of VBit and is identified as its

 CEO.

              California Regulators Send A Desist and Refrain Order




                                           30
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 31 of 54 PageID #:
                                        488



 94.    On February 1, 2024, the California Department of Financial Protection and

 Innovation (“DFPI”) announced it had sent a desist and refrain order (the “DFPI

 Order”) to VBit Tech, VBit Mining, VBit DC, and Advanced Mining. The DFPI

 Order alleged that VBit Tech, VBit Mining, VBit DC, and Advanced Mining

 solicited investors and offered unregistered securities in California. The DFPI Order

 ordered VBit Tech, VBit Mining, VBit DC, and Advanced Mining to “desist and

 refrain from the further offer and sale of securities in the State of California,

 including but not limited to investment contracts, unless and until qualification has

 been made under the law, or unless exempt.”

       The Truth Leaks Out, but Defendants Continue to Mislead Investors

        95.   Beginning in May 2022, VBit/Advanced Mining customers

 experienced delays in withdrawing Bitcoin from their virtual wallets.

 VBit/Advanced Mining described these delays as “batching” issues or technical

 glitches.

        96.   On or around June 1, 2022, VBit/Advanced Mining stopped processing

 all withdrawals. Since approximately June 2022, Plaintiffs’ virtual wallets have

 been frozen and Plaintiffs cannot withdraw Bitcoin or process any transactions.

        97.   VBit/Advanced Mining’s so-called individualized “virtual wallets” are

 complete shams, i.e., they are merely numbers contained in a virtual database and

 not individualized units of Bitcoin associated with each Class member.

                                          31
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 32 of 54 PageID #:
                                        489



       98.    Contrary to their representations (see ¶ 57 supra), Defendants did not

 offer or maintain individualized, hardware-hosted mining services for all customers.

       99.    Plaintiffs never received the discrete, individualized mining equipment

 and services they paid for.

       100. Upon information and belief, VBit did conduct some Bitcoin mining

 and made some distributions to its customers, VBit misappropriated much of its

 customers’ Bitcoin, and used that Bitcoin to engage in highly speculative trading of

 other cryptocurrencies such as Ethereum, Stellar, Tezos, Zcash, and Bitcoin Cash.

       101. Defendants’ fraudulent scheme unraveled when the market price of

 Bitcoin began to tumble in April 2022. It was only after the price of Bitcoin dropped

 precipitously that Plaintiffs were and continue to be foreclosed from making

 withdrawals from their virtual wallets.

       102. Defendants sold far more computing power than ever owned, hosted,

 or otherwise controlled, and they presently owe Plaintiffs and other customers

 amounts far in excess of what they were making on their mining operations.

       103. On June 27, 2022, Advanced Mining sent an email to its customers

 stating the following:

       Advanced Mining has positively impacted many lives during its few
       years in operation. Therefore, it saddens us to inform you that we can
       no longer service the United States market.

       Without over-disclosing, in summary, our team has worked diligently
       with multiple law firms to ensure that our products and services are not
                                           32
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 33 of 54 PageID #:
                                        490



       unregistered securities. However, the United States Securities and
       Exchange Commission (US SEC) disagrees; therefore, Advanced
       Mining must take measures to abide by US SEC and applicable laws.
       As a result, we stopped all sales and withdrawals because of a potential
       pending settlement with the US SEC. During this process, bitcoin
       mining for clients outside the US may continue normally. After
       completing our potential pending settlement with the US SEC, we look
       forward to resuming our global services to clients outside the US and
       other restricted countries.

       104. The email further states that U.S. customers “who earned more than

 what they originally paid to VBit/Advanced Mining will keep their earnings and

 must relinquish ownership of their mining hardware.”

       105. The email further explained that “US customers who have not yet

 earned more than what they originally paid to VBit/Advanced Mining” had two

 options. They could either: (a) “[k]eep ownership of their hardware and have it

 shipped to them at their expense” with Advanced Mining refunding any unused

 prepaid hosting services, or (b) “[r]elinquish their hardware ownership to receive a

 full refund of all monies paid minus any commissions and mined bitcoins.”

       106. Advanced Mining told its customers in the same email that they would

 be reaching out to customers to capture their choice of the two options.

       107. On July 5, 2022, Defendant Tu emailed Advanced Mining customers

 the following update:

     Advanced Mining would no longer be accepting payments;
     “all sales are “temporarily suspended”;
     pending sales would be cancelled or refunded;

                                         33
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 34 of 54 PageID #:
                                        491



     “[n]o new commission and (commission bonuses) will be paid to any
      returned and cancelled sales”;
     “[c]omission payout will temporarily be suspended until commissions are re-
      calculated based on canceled sales, returns, and refunds”;
     “[a]ffilliate Membership for US residents (and US business entities) will be
      suspended this week (if not already);
     “We have finalized the WA state list of members; starting today (July 5th),
      we will begin reaching out to WA members on their options”;
     “We are proactively working on a list of refunds for other states”; and
     “When we are done with WA customers, we will start with other states.”

       108. On June 27, 2022, Advanced Mining claimed to have closed its

 headquarters in Philadelphia, blaming the COVID-19 pandemic.

       109. Yet Advanced Mining continues to offer various mining packages for

 sale on its website, but all packages are listed as “sold out.” Advanced Mining,

 Mining Shop, https://www.advancedmining.io/mining-shop/ (last visited July 11,

 2024).

       110. Furthermore, despite VBit’s supposed sale to Advanced Mining in

 January 2022, the July 2022 Consent Order made no mention of Advanced Mining,

 and Defendant Zhou appears on the signature line on behalf of VBit and is identified

 as its CEO.

       111. On October 18, 2022, Advanced Mining emailed its customers to

 inform them about upgrades to its online help desk system, refunds available to

 customers from the State of Washington who can take advantage of the consent

 order with its securities department, and fixes to login and account authentication.


                                         34
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 35 of 54 PageID #:
                                        492



 Despite Advanced Mining’s earlier statements, the enterprise continued to function

 as a going concern to continue concealing the fraud.

       112. In late 2022, even after multiple lawsuits had been filed against the

 Defendants, Sean Tu attempted to liquidate VBit’s assets, including the computer

 hardware owned and leased by members of the Class, and the assets of VBit DC.

       113. As of the date of this Amended Complaint, Plaintiffs are unable to

 withdraw Bitcoin from their virtual wallet, despite Defendants’ representations that

 customers could withdraw at any time all Bitcoin they owned.

               THE MINING CONTRACTS ARE SECURITIES

       114. The contractual agreements at issue and the products and services sold

 thereunder, i.e., Defendants’ “hosting services” and “mining equipment,” constitute

 investment contracts and securities under §3(a)(10) of the Securities Exchange Act

 of 1934, 15 U.S.C. §78c, because they are investments in common ventures

 premised on a reasonable expectation of profits to be derived primarily from the

 entrepreneurial or managerial efforts of others. Further, the Mining Contracts are

 securities under the test set forth in Reves v. Ernst & Young, 494 U.S. 56, 64-66

 (1990), and its progeny. The Mining Contracts also have all the traditional

 hallmarks of a security, as reflected in SEC v. W.J. Howey Co., 328 U.S. 293 (1946),

 and subsequent case law.

        The Mining Contracts Are Unregistered Securities Under Reves

                                         35
Case 1:23-cv-00162-JLH-SRF           Document 34 Filed 07/29/24   Page 36 of 54 PageID #:
                                              493



             115. VBit and/or Advanced Mining has never been registered in any

 capacity with the SEC; nor have the Mining Contracts been registered with the SEC

 or any other state securities agency.

             116. Under §2(a)(1) of the Securities Act, 15 U.S.C. §77b(a)(1), a

 “security” is defined to include any “note.”

             117. The Supreme Court has noted that “Congress’ purpose in enacting the

 securities laws was to regulate investments, in whatever form they are made and by

 whatever name they are called.”4 While not all notes are investments, pursuant to

 the family resemblance test articulated by the Supreme Court, a note is presumed to

 be a security and that presumption may be rebutted only by a showing that the note

 bears a strong resemblance to one of the enumerated categories, such as a “‘note

 delivered in consumer financing’” or the “‘note secured by a mortgage on a

 home.’”5 The factors suggesting a note is a security include: (1) investments in a

 business enterprise; (2) the “‘common trading’” of the notes offered and sold to a

 broad segment of the public; (3) the public’s reasonable perception from

 advertisements for the notes that they were investments; and (4) the lack of any risk-

 reducing factor that would make the application of the Securities Act unnecessary,




 4
     Reves, 494 U.S. at 61.
 5
     Id. at 65 (citation omitted).
                                              36
Case 1:23-cv-00162-JLH-SRF               Document 34 Filed 07/29/24        Page 37 of 54 PageID #:
                                                  494



 since the notes were uncollateralized and uninsured and would escape federal

 regulation entirely if the Securities Act were held not to apply.6

         118. These factors underscore that the notes issued by VBit/Advanced

 Mining and Defendants in the form of Mining Contracts were securities. First,

 Plaintiff and the Class invested fiat and/or cryptocurrencies in a business enterprise,

 namely VBit.

         119. Most significantly, all of the marketing materials promoted by

 Defendants led Plaintiff and the Class to believe that investing in a Mining Contract

 with VBit was an investment.

          The Mining Contracts Are Unregistered Securities Under Howey

         120. Section 2(a)(1) of the Securities Act also defines a “security” to include

 any “investment contract.”7 An investment contract is “an investment of money in

 a common enterprise with profits to come solely from the efforts of others.”8

 Specifically, a transaction qualifies as an investment contract and, thus, a security

 if it is: (1) an investment (2) in a common enterprise (3) with a reasonable

 expectation of profits (4) to be derived from the entrepreneurial or managerial

 efforts of others.9 This definition embodies a “flexible rather than a static principle,

 one that is capable of adaptation to meet the countless and variable schemes devised


 6
   Id. at 65-66.
 7
   15 U.S.C. §77b(a)(1).
 8
   Howey, 328 U.S. at 299.
 9
   See United Hous. Found., Inc. v. Forman, 421 U.S. 837, 852-53 (1975).
                                                       37
Case 1:23-cv-00162-JLH-SRF                  Document 34 Filed 07/29/24   Page 38 of 54 PageID #:
                                                     495



 by those who seek the use of the money of others on the promise of profits,” and

 thereby “permits the fulfillment of the statutory purpose of compelling full and fair

 disclosure relative to the issuance of ‘the many types of instruments that in our

 commercial world fall within the ordinary concept of a security.’”10 Accordingly,

 in analyzing whether something is a security, “‘form should be disregarded for

 substance,’” and the emphasis should be “on the economic realities underlying a

 transaction, and not on the name appended thereto.”11

            121. Like the defendants in Howey, VBit offered the “essential ingredients

 of an investment contract.” This is so because VBit offered an opportunity to

 passively invest in its collective Bitcoin mining pool.

            122. Investors in the VBit Mining Contracts, including Plaintiffs and the

 Class, made their investments with a reasonable expectation of profits. In fact, the

 sole reason for entering into the Mining Contracts was to earn a return on their

 investment in the form of newly mined Bitcoin.

            123. Investors’ profits in the Mining Contracts were to be derived from the

 managerial efforts of others, specifically VBit, Advanced Mining, and the

 Individual Defendants, who held themselves out to investors as experts in the

 Bitcoin mining industry. Investors relied on the technical, managerial, and




 10
      Howey, 328 U.S. at 299 (citation omitted).
 11
      Forman, 421 U.S. at 848-49 (citation omitted).
                                                       38
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 39 of 54 PageID #:
                                        496



 entrepreneurial efforts of the Defendants to manage, oversee, and/or develop the

 Bitcoin mining facilities funded by sale of the Mining Contracts.

       124. As executives of VBit and Advanced Mining, the Individual

 Defendants ran VBit’s day-to-day operations and were responsible for all aspects

 of company products and strategy and for the growth of and investment in VBit.

       125. Therefore, the first, third, and fourth prongs of the Howey test are

 satisfied. Only the second prong – the question of commonality – remains.

       126. The Third Circuit applies the “horizontal commonality” test to

 determine whether a “common enterprise” exists. U.S. S.E.C. v. Infinity Grp. Co.,

 212 F.3d 180, 187 (3d Cir. 2000). “Horizontal commonality is characterized by a

 pooling of investor’s contributions and distribution of profits and losses on a pro-

 rata basis among investors.” Id. However, a “pro-rata distribution of profits” is not

 required for horizontal commonality to exist. Friel v. Dapper Labs, Inc., 2023 WL

 2162747, at *10 (S.D.N.Y. Feb. 22, 2023) (“Courts have also found that while the

 pro-rata distribution of profits is evidence of horizontal commonality, such a

 formalized profit-sharing mechanism is not required.”) (internal quotation marks

 and citations omitted). Rather, “[h]orizontal commonality requires the existence of

 a ‘pooled group of funds’ from investors in the common enterprise.” Steinhardt

 Grp., Inc. v. Citicorp, 1996 WL 790097, at *9 (D. Del. Dec. 2, 1996), aff'd, 126

 F.3d 144 (3d Cir. 1997). “Generally, pooling occurs when the funds received by the

                                          39
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24       Page 40 of 54 PageID #:
                                         497



 promoter through an offering are, essentially, reinvested by the promoter into the

 business. In turn, such reinvestment increases the value of the instrument offered.”

 Friel, 2023 WL 2162747, at *11.

       127. The “common enterprise” element is satisfied here because VBit’s

 mining packages expressly state that the mining equipment being offered would be

 utilized as part of a collective mining “pool”:




 Ex. 1, at § 5.1. Bitcoin “mining pools” are, by definition, “collectives” where Bitcoin

 miners “work together to mine Bitcoin.” Benjamin Akins, et al., The Case for the

 Regulation of Bitcoin Mining As A Security, 19 Va. J.L. & Tech. 669, 679 (2015).

 Although Bitcoin mining pools employ “various compensation regimes, the core

 principal of the mining pool is that . . . individual miners input or invest their work

 product into a mining pool with the purpose of receiving a share of the proceeds

 from the present or ongoing mining activity.” Id. at 681.

       128. VBit expressly informed Plaintiffs and the Class that their investments

 in VBit-hosted mining equipment would be placed in a VBit-selected “mining pool”
                                          40
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24        Page 41 of 54 PageID #:
                                         498



 where that equipment would be used to mine Bitcoin for the Plaintiffs’ (and other

 investors’) collective benefit. Ex. 1, § 5.1). Under the “horizontal commonality” test

 for establishing the existence of a “common enterprise,” the central inquiry is

 whether Plaintiffs’ investments were “pooled.” This test is clearly satisfied because

 Plaintiffs’ VBit mining packages expressly state her investments would be “pooled”

 as part of a collective Bitcoin “mining pool.”

       129. Moreover, the Washington Securities Division entered into a Consent

 Order with VBit, which concluded that the precise VBit mining packages at issue

 are “securities.”; (Ex. [], Consent Order). Notably, “[t]he definition of a security in

 the Securities Act of Washington is derived substantially from the definition

 sections of the federal Securities Act of 1933.” McClellan v. Sundholm, 89 Wash.

 2d 527, 531, 574 P.2d 371, 373 (1978). In fact, Washington courts have expressly

 adopted the “federal definition of an investment contract” as “authoritatively stated”

 in the seminal case of Howey. Id.

          Defendants Admit That the Mining Contracts Are Securities

 130. In the RICO case, Defendants Mr. Gao and Ms. Vo have asserted that the

 Mining Contracts are securities. Dettmering v. VBit Technologies Corp., et al., Case

 No. 1:22-cv-01482-JLH-SRF, Dkt. Nos. 141, at 15-16; 146, at 5-10 (D. Del.). As

 such, Defendants Mr. Gao and Ms. Vo are judicially estopped from asserting

 otherwise. In re Kane, 628 F.3d 631, 638 (3d. Cir. 2010); see also, Rice v. Regions

                                           41
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 42 of 54 PageID #:
                                        499



 Bank, 2010 WL 11614152, at *14 (N.D. Ala. Mar. 8, 2010) (“[Judicial estoppel] is

 designed to prohibit a party from making an assertion in one case which is

 inconsistent with an assertion made by that party in a prior proceeding.”)

                        CLASS ACTION ALLEGATIONS

       131. Plaintiff brings this action as a class action pursuant to Rules 23(a) and

 23(b)(3) of the Federal Rules of Civil Procedure on behalf of the following Class of

 persons:

       All persons or entities who purchased unregistered securities in the
       form of VBit Mining Contracts and were subsequently damaged
       thereby. Excluded from the Class are: corporate officers, members of
       the boards of directors, and senior executives of Defendants; members
       of their immediate families and their legal representatives, heirs,
       successors or assigns; and any entity in which Defendants have or had
       a controlling interest.

       132. The members of the Class are so numerous that joinder of all members

 is impracticable. Plaintiff believes there are at least 15,000 Class members. The

 exact number of Class members is unknown to Plaintiff at this time and can only be

 ascertained through appropriate discovery.

       133. The Class is readily ascertainable and identifiable. They can be

 identified by reference to Defendants’ own records and databases. Moreover, Class

 members will be able to come forward and identify themselves.

       134. Plaintiffs will fairly and adequately protect the interests of the Class

 because Plaintiffs’ claims are typical and representative of the claims of all

                                         42
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24        Page 43 of 54 PageID #:
                                         500



 members of the Class. Plaintiffs suffered injury in fact as a result of their

 investments in VBit Mining Contracts.

       135. Plaintiffs’ claims are typical of the claims of all Class members, as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in

 violation of federal securities laws. All members of the Class have sustained injury

 in fact as a result of VBit’s inability to pay the amounts due to them in their customer

 accounts.

       136. There are no unique defenses that may be asserted against Plaintiffs

 individually, as distinguished from the other members of the Class, and the relief

 sought is common to the Class. Plaintiffs are typical of other members of the Class,

 do not have any interest that is in conflict with or is antagonistic to the interests of

 the members of the Class, and have no conflict with any other members of the Class.

       137. Plaintiffs have retained competent counsel experienced in securities,

 cryptocurrency, and class action litigation to represent themselves and the Class.

       138. Questions of law and fact common to the Class that predominate over

 any questions that may affect only individual members of the Class, include, but are

 not limited to:

       a.     Whether the VBit Mining Contracts are securities under the Securities

              Act;




                                           43
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24       Page 44 of 54 PageID #:
                                         501



       b.     Whether Defendants’ offerings and sales of VBit Mining Contracts

              violated the registration provisions of the Securities Act;

       c.     Whether Defendants made materially false and misleading statements

              and omissions in connection with the VBit Mining Contracts;

       d.     Whether Defendants made the materially false statements and

              omissions with scienter;

       e.     Whether the Individual Defendants are control people of the Company

              Defendants; and

       f.     The type and measure of damages suffered by Plaintiffsand the Class.

       139. A class action is superior to other available methods for the fair and

 efficient adjudication of this controversy since joinder of all Class members is

 impracticable. Furthermore, as the damages suffered by individual Class members

 may be relatively small, the expense and burden of individual litigation make it

 impossible for Class members to redress individually the wrongs done to them. In

 the absence of a class action, Defendants will retain the benefits of their wrongful

 conduct.

                                CAUSES OF ACTION

                                   COUNT I
             Unregistered Offer and Sale of Securities in Violation of
                      §§5 and 12(a)(1) of the Securities Act
                           (Against All Defendants)



                                          44
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24         Page 45 of 54 PageID #:
                                          502



       140. Plaintiffs, on behalf of themselves and all others similarly situated,

 reallege and incorporate herein by reference each and every allegation contained in

 the preceding paragraphs of this Complaint.

       141. Defendants, and each of them, made use of means or instruments of

 transportation or communication in interstate commerce or of the mails, to offer to

 sell or to sell securities, or to carry or cause such securities to be carried through the

 mails or in interstate commerce for the purpose of sale or for delivery after sale.

       142. VBit Mining Contracts are securities within the meaning of §2(a)(1) of

 the Securities Act, 15 U.S.C. §77b(a)(1).

       143. Plaintiffs and members of the Class purchased VBit Mining Contract

 securities from Defendants.

       144. No registration statements have been filed with the SEC or have been

 in effect with respect to any of the offerings alleged herein.

       145. By reason of the foregoing, each of the Defendants has violated §§5(a),

 5(c), and 12(a) of the Securities Act, 15 U.S.C. §§77e(a), 77e(c), and 77l(a).

       146. As a direct and proximate result of Defendants’ unregistered sale of

 securities, Plaintiffs and members of the Class have suffered damages in connection

 with their respective purchases of VBit Mining Contract securities.

                                       COUNT II

                         Violation of §15 of the Securities Act
                              (Against All Defendants)
                                            45
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24        Page 46 of 54 PageID #:
                                        503




       147. Plaintiffs, on behalf of themselves and all others similarly situated,

 reallege and incorporate herein by reference each and every allegation contained in

 the preceding paragraphs of this Complaint.

       148. This Count is asserted against Defendants under §15 of the Securities

 Act, 15 U.S.C. §77o.

       149. Defendants, by virtue of their offices, stock ownership, agency,

 agreements or understandings, and specific acts were, at the time of the wrongs

 alleged herein, and as set forth herein, controlling persons within the meaning of

 §15 of the Securities Act. Defendants, and each of them, had the power and

 influence and exercised the same to cause the unlawful offer and sale of VBit

 Mining Contract securities as described herein.

       150. Defendants, separately or together, possessed, directly or indirectly,

 the power to direct or cause the direction of the management and policies of VBit

 and Advanced Mining, through ownership of voting securities, by contract,

 subscription agreement, or otherwise.

       151. Defendants, separately or together, had sufficient influence to have

 caused VBit and/or Advanced Mining to submit a registration statement.

       152. Defendants, separately or together, jointly participated in, and/or aided

 and abetted, VBit’s failure to register the Mining Contracts.



                                          46
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24        Page 47 of 54 PageID #:
                                          504



         153. Defendants knew of or had reasonable grounds to believe in the

 existence of the facts underlying Defendants and VBit/Advanced Mining’s liability

 for violating §12(a) of the Securities Act, 15 U.S.C. §77l(a).

         154. By virtue of the conduct alleged herein, the Defendants are liable for

 the wrongful conduct complained of herein and are liable to Plaintiff and the Class

 for rescission and/or damages suffered.

                                       COUNT III

               Violation of §10(b) of the Exchange Act and Rule 10b-5
                              (Against All Defendants)

         155. Plaintiffs restate and reallege all preceding allegations above as if fully

 set forth herein.

         156. This Count is asserted against Defendants and is based upon §10(b) of

 the Exchange Act, 15 U.S.C. §78j(b), and Rule 10b-5 promulgated thereunder by

 the SEC.

         157. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that

 they:

                     employed devices, schemes and artifices to defraud;

                     made untrue statements of material facts or omitted to state

                      material facts necessary in order to make the statements made, in

                      light of the circumstances under which they were made, not

                      misleading; or
                                            47
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 48 of 54 PageID #:
                                        505



                   engaged in acts, practices and a course of business that operated

                    as a fraud or deceit upon Plaintiffs and others similarly situated

                    in connection with their purchases of unregistered VBit

                    securities during the Class Period.

       158. Pursuant to the above plan, scheme, conspiracy, and course of conduct,

 each of the Defendants participated directly or indirectly in the preparation and/or

 issuance of the VBit Mining Contracts, marketing materials, websites, press

 releases, and other statements and documents, as described above, including

 statements made to securities analysts and the media, that were designed to

 influence the demand for VBit Mining Contracts. Such content, releases, and

 statements were materially false and misleading in that they failed to disclose

 material adverse information and misrepresented the truth about VBit/Advanced

 Mining’s business and operations.

       159. By virtue of their positions at VBit/Advanced Mining, Defendants had

 actual knowledge of the materially false and misleading statements and material

 omissions alleged herein and intended thereby to deceive Plaintiff and the other

 members of the Class, or, in the alternative, Defendants acted with reckless

 disregard for the truth in that they failed or refused to ascertain and disclose such

 facts as would reveal the materially false and misleading nature of the statements

 made, although such facts were readily available to Defendants. Said acts and

                                          48
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24      Page 49 of 54 PageID #:
                                        506



 omissions of Defendants were committed willfully or with reckless disregard for

 the truth. In addition, each Defendant knew or recklessly disregarded that material

 facts were being misrepresented or omitted, as described above.

        160. Information showing that Defendants acted knowingly or with reckless

 disregard for the truth is peculiarly within Defendants’ knowledge and control. As

 senior managers and/or officers of VBit/Advanced Mining, the Individual

 Defendants had knowledge of the details of VBit/Advanced Mining’s internal

 affairs.

        161. The Individual Defendants are liable both directly and indirectly for

 the wrongs complained of herein. Because of their positions of control and

 authority, the Individual Defendants were able to, and did, directly or indirectly,

 control the content of the statements of VBit/Advanced Mining. As a result of the

 dissemination of the aforementioned false and misleading VBit Mining Contracts,

 website content, releases, and public statements, the cost of the VBit Mining

 Contracts was artificially inflated throughout the Class Period. In ignorance of the

 adverse facts concerning VBit/Advanced Mining’s true business and financial

 condition, which were concealed by Defendants, Plaintiff and other members of the

 Class purchased or otherwise acquired VBit Mining Contract securities at

 artificially inflated prices and relied upon the efforts and statements disseminated

 by Defendants, and were damaged thereby.

                                         49
Case 1:23-cv-00162-JLH-SRF      Document 34 Filed 07/29/24      Page 50 of 54 PageID #:
                                         507



       162. Had Plaintiffs and the other members of the Class known the truth,

 they would not have purchased or otherwise acquired said VBit Mining Contract

 securities, or would not have purchased or otherwise acquired them at the inflated

 prices that were paid. At the time of the purchases and/or acquisitions by Plaintiffs

 and the Class, the true value of the unregistered VBit Mining Contract securities

 was substantially lower than the prices paid by Plaintiffs and the other members of

 the Class.

       163. By reason of the conduct alleged herein, Defendants have knowingly

 or recklessly, directly or indirectly, violated §10(b) of the Exchange Act and Rule

 10b-5 promulgated thereunder.

       164. As a direct and proximate result of Defendants’ wrongful conduct,

 Plaintiffs and the other members of the Class suffered damages in connection with

 their respective purchases, acquisitions, and sales of VBit’s securities during the

 Class Period, upon the disclosure that VBit had been misrepresenting their business

 to the investing public.

                                     COUNT IV

                  Violations of Section 20(a) of the Exchange Act
                        Against the Individual Defendants

       165. Plaintiffs repeat and reallege each and every allegation contained in the

 foregoing paragraphs as if fully set forth herein.



                                           50
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 51 of 54 PageID #:
                                        508



       166. During the Class Period, the Individual Defendants participated in the

 operation and management of VBit/Advanced Mining, and conducted and

 participated, directly and indirectly, in the conduct of VBit/Advanced Mining’s

 business affairs. Because of their senior positions, they knew the adverse non-public

 information about VBit/Advanced Mining’s misstatement of the operation of its

 business.

       167. As officers and/or directors of a publicly owned company, the

 Individual Defendants had a duty to disseminate accurate and truthful information

 with respect to VBit/Advanced Mining’s financial condition and results of

 operations, and to correct promptly any public statements issued by VBit/Advanced

 Mining which had become materially false or misleading.

       168.   Because of their positions of control and authority as senior officers,

 the Individual Defendants were able to, and did, control the contents of the various

 reports, press releases and public filings which VBit/Advanced Mining

 disseminated in the marketplace during the Class Period concerning VBit/Advanced

 Mining’s results of operations. Throughout the Class Period, the Individual

 Defendants exercised their power and authority to cause VBit/Advanced Mining to

 engage in the wrongful acts complained of herein. The Individual Defendants

 therefore, were “controlling persons” of VBit/Advanced Mining within the meaning

 of Section 20(a) of the Exchange Act. In this capacity, they participated in the

                                          51
Case 1:23-cv-00162-JLH-SRF     Document 34 Filed 07/29/24       Page 52 of 54 PageID #:
                                        509



 unlawful conduct alleged which artificially inflated the market price of the

 unregistered VBit/Advanced Mining securities.

       169. By reason of the above conduct, the Individual Defendants are liable

 pursuant to Section 20(a) of the Exchange Act for the violations committed by

 VBit/Advanced Mining.

                                     COUNT V

                           Unjust Enrichment/Restitution
                         (Common Law, in the Alternative)
                             (Against All Defendants)

       170. Plaintiffs, on behalf of themselves and all others similarly situated,

 reallege and incorporate herein by reference each and every allegation contained in

 the preceding paragraphs of this Complaint.

       171. Plaintiffs and members of the Class conferred a monetary benefit on

 Defendants by investing fiat money and cryptocurrency in connection with the VBit

 Mining Contracts, which allowed Defendants to inappropriately pay out proceeds

 to other investors.

       172. Defendants received a financial benefit from the sale of their VBit

 Mining Contracts at inflated prices and are in possession of this monetary value that

 was intended to be used for the benefit of, and rightfully belongs to Plaintiff and

 members of the Class.




                                          52
Case 1:23-cv-00162-JLH-SRF       Document 34 Filed 07/29/24         Page 53 of 54 PageID #:
                                          510



         173. Plaintiffs seek restitution in the form of the monetary value of the

 difference between the purchase price of the VBit Mining Contracts and any

 proceeds Plaintiffs received from the purported Bitcoin mining.

                               PRAYER FOR RELIEF
         WHEREFORE, Investor, on behalf of itself and the Class, prays for

 judgment and relief as follows:

         (a)   declaring this action to be a proper class action under Rule 23 of the

 Federal Rules of Civil Procedure;

         (b)   declaring that the VBit Mining Contracts are securities and that

 Defendants’ unregistered sales of the VBit Mining Contracts violated applicable

 laws;

         (c)   awarding damages in favor of Plaintiffs and the other Class members

 against all defendants, jointly and severally, together with interest thereon;

         (d)   awarding Plaintiffs and the Class reasonable costs and expenses

 incurred in this action, including counsel fees and expert fees;

         (e)   awarding Plaintiffs and other members of the Class such other and

 further relief as the Court may deem just and proper.

                             JURY TRIAL DEMANDED

         Plaintiffs hereby demand a trial by jury.




                                           53
Case 1:23-cv-00162-JLH-SRF   Document 34 Filed 07/29/24     Page 54 of 54 PageID #:
                                      511



 Dated: July 29, 2024                      Respectfully submitted,

                                           FARNAN LLP

                                           /s/ Brian E. Farnan
                                           Brian E. Farnan (Bar No. 4089)
                                           Michael J. Farnan (Bar No. 5165)
                                           919 North Market St., 12th Floor
                                           Wilmington, DE 19801
                                           Telephone: (302) 777-0300
                                           Fax: (302) 777-0301
                                           Email: bfarnan@farnanlaw.com
                                           Email: mfarnan@farnanlaw.com

                                           Liaison Counsel for Plaintiff and the
                                           Class

                                           THE ROSEN LAW FIRM, P.A.
                                           Laurence Rosen
                                           Phillip Kim
                                           275 Madison Avenue, 40th Floor
                                           New York, NY 10016
                                           Telephone: (212) 686-1060
                                           Facsimile: (212) 202-3827
                                           Email:       lrosen@rosenlegal.com
                                                  pkim@rosenlegal.com

                                           Lead Counsel for Plaintiff and the
                                           Class




                                      54
